     Case: 1:18-cv-02114 Document #: 25 Filed: 08/21/18 Page 1 of 1 PageID #:173

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Hughes Socol Piers Resnick & Dym, Ltd.
                                              Plaintiff,
v.                                                           Case No.: 1:18−cv−02114
                                                             Honorable Marvin E. Aspen

                                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 21, 2018:


       MINUTE entry before the Honorable Marvin E. Aspen: Status hearing set for
8/23/2018 is stricken and reset to 10/25/2018 at 10:30 a.m. Mailed notice (ags, )




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